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                              EXHIBIT A
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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                   7     CHARTER COMMUNICATIONS, INC.,                      Case No. 20-mc-80084-SK
                                   8                    Movant,
                                                                                            ORDER GRANTING MOTION TO
                                   9             v.                                         TRANSFER
                                  10     MARKMONITOR, INC.,
                                                                                            Regarding Docket Nos. 6, 7, 12
                                  11                    Respondent.

                                  12          Movant seeks to compel Respondent to comply with a subpoena issued in the course of
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                                  13   underlying litigation currently pending in the District of Colorado, Warner Records Inc. v. Charter

                                  14   Communications, Inc., Case No. 19-cv-00874-RBJ-MEH (the “Colorado action”). (Dkt. 1.)

                                  15   Simultaneously, Movant seeks to transfer the instant miscellaneous matter to the District of

                                  16   Colorado for resolution. (Dkt. 7.) Respondent opposes both the motion to compel and the motion

                                  17   to transfer. (Dkt. 8, 12.) Alongside its motions, Movant filed two administrative motions to file

                                  18   under seal to protect confidential or trade secret protectible material contained in the motions.

                                  19   (Dkts. 2, 6, 9.) The Court HEREBY GRANTS the administrative motions to file under seal.

                                  20   Having considered the submissions of the parties, the record in the case, and the relevant legal

                                  21   authorities, the Court GRANTS the motion to transfer venue. In so doing, the Court does not

                                  22   reach the substance of the motion to compel, as the transfer renders it moot before this Court.

                                  23                                            BACKGROUND

                                  24          Movant is an internet service provider, and 66 record labels and music publishers

                                  25   (“Plaintiffs”) have sued Movant for copyright infringement in the Colorado action. (Dkt. 2-1.)
                                       Plaintiffs allege that Movant’s internet service subscribers unlawfully distributed thousands of
                                  26
                                       their works online between 2013 and 2016. (Id.) Plaintiffs seek to hold Movant contributorily
                                  27
                                       liable for its subscribers’ alleged copyright infringement in the Colorado action. (Id.) The trade
                                  28
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                                  1    organization for Plaintiffs hired Respondent to identify alleged infringers sharing copyrighted files

                                  2    on peer-to-peer file sharing networks and to send notices to the internet service providers

                                  3    providing service to the alleged infringers. (Id.) The data that Respondent compiled in

                                  4    completing those tasks is the sole infringement evidence in the Colorado action. (Id.) Respondent

                                  5    is a litigation consultant to Plaintiffs in the Colorado action. (Dkt. 8.)

                                  6           On March 11, 2020, a special master was appointed to oversee discovery disputes in the

                                  7    Colorado action. Warner, Case No. 19-cv-00874-RBJ-MEH, Dkt. 193. The special master has

                                  8    already decided multiple discovery disputes involving production, touching on Respondent’s role

                                  9    in the Colorado action and its technology. Id., Dkts. 164, 181.

                                  10          Movant served the subpoena at issue on Respondent on December 20, 2019. (Dkt. 2-4

                                  11   (Golinveaux Dec. Ex. 2).) Movant seeks to compel Respondent to produce technical information

                                  12   about Respondent’s infringement detection technology, technical information about the databases
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                                  13   Respondent created for plaintiffs’ trade organization, Respondent’s technical assessments of its
                                       own system, evidence packages generated alongside each verified instance of infringement,
                                  14
                                       information related to a Copyright Alert System project, communications with Plaintiffs and their
                                  15
                                       trade organization, and document retention policies and privilege logs. (Dkt. 2-1.)
                                  16
                                              Movant argues that the motion to compel is most appropriately heard before the District of
                                  17
                                       Colorado because Respondent is not a true third party to the Colorado action, in which it has
                                  18
                                       already committed to participating as a litigation consultant. (Dkt. 6-3.) Movant further contends
                                  19
                                       that the District of Colorado is in a better position to resolve the issues raised by the motion to
                                  20
                                       compel because that court has already appointed a special master who has recently decided
                                  21
                                       discovery disputes relevant to Respondent and the production requested here. (Id.) Finally,
                                  22
                                       Movant argues that there is no burden for Respondent in appearing in Colorado versus San
                                  23
                                       Francisco because all federal hearings are currently being conducted telephonically due to
                                  24
                                       COVID-19.
                                  25
                                              Respondent counters that this Court has recently considered a subpoena addressed to
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                                       Respondent addressing similar subject matter, Cox Communications, Inc. et al. v. MarkMonitor,
                                  27
                                       Inc., Case No. 19-mc-80050 (“Cox”). Respondent also points out that there is an allegedly
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                                  1    identical motion to compel involving an identical subpoena related to underlying litigation in the

                                  2    Middle District of Florida, Bright House Networks, LLC v. MarkMonitor, Inc., 20-mc-80083

                                  3    (“Bright House”).1 Respondent opposes transfer because two different courts would then consider

                                  4    the subpoenas at issue, rather than keeping this action and Bright House before two judges of this

                                  5    district. (Dkt. 12.) Respondent argues that Movant “misstates the facts” surrounding its

                                  6    involvement in the Colorado action, but does not indicate how. (Id.) Nor does Respondent deny

                                  7    that it is a litigation consultant in the Colorado action. (Id.) Respondent contends that the issues

                                  8    previously considered by the special master in the Colorado action are irrelevant to the motion to

                                  9    compel, and it notes that it anticipates disputes concerning source code, which the Cox matter

                                  10   addressed, to arise in this matter. (Id.)

                                  11                                               DISCUSSION

                                  12   A.     Legal Standards.
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                                  13          Federal Rule of Civil Procedure 45(f) provides that “[w]hen the court where compliance is

                                  14   required did not issue the subpoena, it may transfer a motion under this rule to the issuing court if

                                  15   the person subject to the subpoena consents or if the court finds exceptional circumstances.” The

                                  16   Advisory Committee Notes to Rule 45 outline what constitutes exceptional circumstances:

                                  17          In the absence of consent, the court may transfer in exceptional circumstances, and the
                                              proponent of transfer bears the burden of showing that such circumstances are present. The
                                  18          prime concern should be avoiding burdens on local nonparties subject to subpoenas, and it
                                              should not be assumed that the issuing court is in a superior position to resolve subpoena-
                                  19          related motions. In some circumstances, however, transfer may be warranted in order to
                                              avoid disrupting the issuing court’s management of the underlying litigation, as when that
                                  20
                                              court has already ruled on issues presented by the motion or the same issues are likely to
                                  21          arise in discovery in many districts. Transfer is appropriate only if such interests outweigh

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                                              1
                                                  Respondent recently moved to relate this matter and Bright House to the earlier-filed Cox
                                  23   matter. Cox, 19-mc-80050-SK, Dkt. 39. The Court denied the motion, reasoning that separate
                                  24   underlying lawsuits form the basis for each matter, with each motion to compel brought by a
                                       separate entity. Id., Dkt. 43. The Court also found that the two newly filed matters concerned
                                  25   subpoenas different in scope and subject matter from the subpoena considered in Cox, which
                                       sought production of Respondent’s source code. Id. The Court further declined to relate the two
                                  26   latter-filed matters to one another, finding that it lacked sufficient information to do so, but leaving
                                       open the possibility that Respondent might file a motion to relate in the Bright House matter. Id.
                                  27   Respondent has not filed such a motion. The movant in the Bright House matter has moved to
                                  28   transfer that action to the Middle District of Florida. Bright House, 20-mc-80083-TSH, Dkt. 13.

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                                              the interests of the nonparty served with the subpoena in obtaining local resolution of the
                                  1           motion.
                                  2
                                       Fed. R. Civ. P. 45, Advisory Committee Notes on 2013 Amendments. However, this list is not
                                  3
                                       exhaustive, and “[c]ourts have also considered a number of factors relating to the underlying
                                  4
                                       litigation including ‘the complexity, procedural posture, duration of pendency, and the nature of
                                  5
                                       the issues pending before, or already resolved by, the issuing court in the underlying litigation.”
                                  6
                                       E4 Strategic Sols., Inc. v. Pebble Ltd. P’ship, 2015 WL 12746706, at *3 (C.D. Cal. Oct. 23, 2015)
                                  7
                                       (citing Judicial Watch, Inc. v. Valle Del Sol, Inc., 307 F.R.D. 30, 34 (D.D.C. 2014) (collecting
                                  8
                                       cases)). “[N]umerous district courts have found exceptional circumstances” when motions
                                  9
                                       practice “in the issuing court […] raises similar arguments to those raised in the motion sought to
                                  10
                                       be transferred.” Id. (collecting cases).
                                  11
                                              When the issuing court has already considered issues implicated in a subpoena-related
                                  12
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                                       motion, transfer is warranted. Moon Mountain Farms, LLC v. Rural Cmty. Ins. Co., 301 F.R.D.
                                  13
                                       426, 429 (N.D. Cal. 2014) (finding transfer appropriate where “issues raised in the motion to
                                  14
                                       compel relate to orders and discovery from the underlying […] case.”) Exceptional circumstances
                                  15
                                       exist when “[r]uling on the motion to compel would require the Court to duplicate review already
                                  16
                                       conducted” by the issuing court, risking disruption of that court’s “management of the underlying
                                  17
                                       litigation.” Id. at 430. In such circumstances, the issuing court “is in a better position to rule on
                                  18
                                       these motions due to its familiarity with the issues involved.” Id.
                                  19
                                       B.     Discussion.
                                  20
                                              Exceptional circumstances justify transfer of the subpoena-related motion to compel to the
                                  21
                                       issuing court in the underlying Colorado action. That court in the Colorado action has already
                                  22
                                       appointed a special master to address discovery disputes. The special master has previously
                                  23
                                       considered and ruled on discovery disputes implicating similar and related issues to those
                                  24
                                       presented in the motion to compel. Concomitantly, the special master is already familiar with the
                                  25
                                       facts and technology at issue in the motion. It would duplicate the special master’s review for this
                                  26
                                       Court to familiarize itself with the Colorado action and the factual basis for the motion to compel
                                  27
                                       in order to rule on it. Such a ruling would equally risk interfering with the issuing court’s
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                                  1    management of the Colorado action, where a clear mechanism for dealing with discovery disputes

                                  2    has already been established.

                                  3           It is further clear that participating in the Colorado action in order to respond to the motion

                                  4    to compel would not burden Respondent. Indeed, Respondent is already committed to

                                  5    participating in that very action as a litigation consultant. Moreover, Respondent will not be

                                  6    logistically burdened by appearing before the Colorado court, as opposed to appearing in San

                                  7    Francisco, because appearances in civil matters across the country are being conducted

                                  8    telephonically or using videoconferencing technology for the immediately foreseeable future

                                  9    because of the existence of the COVID-19 pandemic.

                                  10          Respondent’s arguments based on Bright House are unavailing. That matter and this one

                                  11   are pending before two separate judges of this district. Presumably, Respondent could have

                                  12   moved to relate the two matters if the subpoenas and issues raised were truly identical. However,
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                                  13   no motion to relate is pending. As the Court has already pointed out, the two matters involve

                                  14   separate underlying litigation and separate movants. It is not clear that, even if the two matters

                                  15   both remain in this district, they would or should be resolved similarly.

                                  16          Finally, as the Court has also clarified previously, the issues raised in the Cox matter are

                                  17   distinct from those raised by the subpoena at issue here. Respondent’s assertion that such issues

                                  18   might later arise in the Colorado action is not compelling. The Court does not consider its

                                  19   exposure to the Cox matter a substitute for the work already done on resolving discovery disputes

                                  20   in the Colorado action.

                                  21                                             CONCLUSION

                                  22          Accordingly, Movant’s motion to transfer the motion to compel to the District of Colorado

                                  23   is GRANTED. The Clerk of Court is directed to close the file.

                                  24          IT IS SO ORDERED.

                                  25   Dated: July 10, 2020

                                  26                                                    ______________________________________
                                                                                        SALLIE KIM
                                  27                                                    United States Magistrate Judge
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